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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,                    )
                                              )       CASE NO. 1:21-cr-00444-JEB
                    Plaintiff,                )
                                              )
    v.                                        )
                                              )
                                              )
 BRIAN CHRISTOPHER MOCK,
                                              )
                                              )
                            Defendant.        )

                                        NOTICE OF FILING

         The defense requests that the attached discovery request letter, dated August 19, 2021, be

made part of the record in this case.

DATED: September 13, 2021                             Respectfully submitted,

                                                      s/Keala C. Ede
                                                      _________________________________
                                                      KEALA C. EDE
                                                      Minnesota Attorney ID No. 387316
                                                      Attorney for Defendant
                                                      107 U.S. Courthouse
                                                      300 South Fourth Street
                                                      Minneapolis, MN 55415




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                                             OFFICE OF THE
*KATHERIAN D. ROE                                                                       JAMES BECKER
 Federal Defender                   FEDERAL DEFENDER                                 *SHANNON ELKINS
                                          District of Minnesota                              LISA LOPEZ
*MANNY ATWAL                                                                                 KEALA EDE
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 Senior Litigator
                                         Minneapolis, MN 55415                        SARAH WEINMAN
                                          Phone: 612-664-5858                          Assistant Defenders
CHAD M. SPAHN                              Fax: 612-664-5850
Senior Investigator                                                   *MSBA Certified Criminal Law Specialist


August 19, 2021

VIA E-MAIL

Amanda Jawad
DOJ-USAO
211 W. Fort Street, Suite 2001
Detroit, MI 48226

Re:        United States v. Brian Christopher Mock
           Case No. 1:21-cr-00444-JEB-1

Dear Ms. Jawad:

Thank you for discussing the status of discovery in this case with me today. To follow up on
our conversation, pursuant to Federal Rule of Criminal Procedure 16, Local Criminal Rule
5.1, and other applicable authority, we formally write to request all information discoverable
in this case. For any requested discovery to which the government objects, please provide a
written response prior to our September 14, 2021 status conference, or sooner, that that we
can meet, confer, and/or address such issues with the Court, if necessary.

To date, the government has provided the following disclosures: (1) exhibits used at the June
15, 2021 preliminary and detention hearings, including two body worn camera (“BWC”)
video clips from Officer W      and Officer F      , still images from the BWC video clips,
and images of social media postings (i.e., Exhibits “A”-“T”); (2) a “Facebook Return”
document (4,708 pages); (3) cell phone data and reports (27,655 pages); and (4) various
reports and other documents (189 pages).

In particular, Mr. Mock’s request for all discoverable information includes, but is not limited
to, the following:

      1. Statements of Mr. Mock

Please provide any oral, written, or recorded statements, or portions of any written record
(including, but not limited to, government notes) containing the substance of any oral,
written, recorded, or other statements, made by Mr. Mock, within the possession, control,
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or custody of the government, the existence of which is known, or by the exercise of due
diligence may become known, to the government or which the government intends to
introduce at trial. See Fed. R. Crim. P. 16(a)(1)(A)-(B). If any such statements exist or are
found to exist, please reduce them to writing and produce them.

In addition, in order to prepare for pretrial motions, please promptly identify and notify us
of which, if any, statement(s) allegedly made by Mr. Mock the government intends to use in
its case-in-chief at trial. See Fed. R. Crim. P. 12(b)(4).

   2. Documents

Please provide any documents within the possession, custody, or control of the government
that are material to preparing Mr. Mock’s defense, that the government intends to use as
evidence-in-chief at trial, or that were obtained from or belong to Mr. Mock, including but
not limited to, draft arrest reports, investigator notes, memos and emails from law
enforcement officers and those assisting law enforcement officers, sworn statements, lab
notes, prosecution notes, witness interview notes, search warrants, and supporting affidavits
pertaining to Mr. Mock’s case. See Fed. R. Crim. P. 12(h), 16(a)(1)(E), 26.2; Goldberg v. United
States, 425 U.S. 94 (1976).

For purposes of this letter, all documents obtained or confiscated by the government from
outside sources during the investigation of this case are material to the defense’s preparation.
Please provide notice of any decision not to produce requested documents, so that a judicial
decision as to production may, if warranted, be sought. Please also provide all documents
relating to the requests pursuant to Brady v. Maryland, 373 U.S. 83 (1963), and Giglio v. United
States, 405 U.S. 150 (1972), articulated below.

   3. Photographs and Recordings

Please provide a copy of all photographs, videos, audio recordings, or any other type of
recordings taken in connection with this case.

Please provide the video footage from all interview and officer interactions with Mr. Mock
including, but not limited to, complete January 6, 2021 BWC video recordings from the
following:

   (a) USCP Officer S      K        ;
   (b) Officer W      (partial video footage provided as Exhibit “A” to June 15,
       2021 preliminary and detention hearing);
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   (c) MPD Officer H         F      (partial video footage provided as Exhibit “E”
       to the June 15, 2021 preliminary and detention hearing); and
   (d) The Officer referred to in Count Two of the Indictment.

Please produce all communications, including any 911 communications, radio run
communications, or any text, photo, or video message communications from the MPD Text
Tip Line 50411 and the FBI Tip Line, that is within the possession, custody, or control of
the government and are material to preparing Mr. Mock’s defense, or that the government
intends to use as evidence-in-chief at trial. See Fed. R. Crim. P. 16(a)(1)(E); see also Roviaro v.
United States, 353 U.S. 53 (1957); Brady, supra (and its progeny); Giglio, supra (and its
progeny); United States v. Marshall, 132 F.3d 63, 67 (D.C. Cir. 1998) (citing Fed. R. Crim. P.
16) (holding inculpatory evidence is not immune from disclosure)).

Please also produce any photographs, video footage, or recorded communications, including
radio run communications, within the possession, custody, or control of the government
that are material to preparing Mr. Mock’s defense, that the government intends to use as
evidence-in-chief at trial, or that were obtained from or belong to Mr. Mock. See Fed. R.
Crim. P. 16(a)(1)(E).

For purposes of this letter, all photographs or video footage obtained or confiscated by the
government from outside sources during the investigation of this case are material to the
defense’s preparation. Please provide notice of any decision not to produce requested
photographs, video footage, or recorded communications so that a judicial decision as to
production may, if warranted, be sought. Please also provide all photographs, video footage,
and recorded communications relating to the Brady and Giglio requests articulated below.

   4. Tangible Objects

Please identify all tangible objects within the possession, custody, or control of the
government that are material to preparing Mr. Mock’s defense, that the government intends
to use as evidence-in-chief at trial, or that were obtained from or belong to Mr. Mock. See
Fed. R. Crim. P. 16(a)(1)(E).

For purposes of this letter, all tangible evidence obtained or confiscated by the government
from outside sources during the investigation of this case are material to the defense’s
preparation. If any such items exist or are found to exist, please notify me. Please provide
notice of any decision not to produce requested tangible evidence, so that a judicial decision
as to production may, if warranted, be sought.
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Please also provide all information and documents concerning the chain of custody of all
tangible evidence involved in this case.

   5. Experts

If the government intends to call any expert, please provide us with the complete notice
required by Federal Rule of Criminal Procedure 16, including the qualifications of the
proposed expert and a written summary of the proposed testimony. See Fed. R. Crim. P.
16(a)(1)(G); Fed. R. Evid. 702, 703, 705. As required by Rule 16(a)(1)(G), the summaries
must describe the witnesses’ opinions, the bases and the reasons therefore, and the witnesses’
qualifications.

   6. Reports of Examinations and Tests

Please provide all results of physical or mental examinations, or of scientific tests or
experiments, or copies thereof, within the possession, custody, or control of the government;
the existence of which is known, or by the exercise of due diligence may become known, to
the government; and that are material to preparing Mr. Mock’s defense or that the
government intends to use as evidence-in-chief at trial. See Fed. R. Crim. P. 16(a)(1)(F).

This includes, but is not limited to:

       Fingerprints: Please provide all information and documents relating to any
   attempt to fingerprint any of the physical evidence in this case. Specifically,
   identify the person(s) who conducted such testing, which objects the person(s)
   attempted to fingerprint, the methods the person(s) used to attempt to lift prints,
   and the results of those efforts. We specifically request copies of any lift cards
   even if it was determined that the prints were not useable. Please notify us if no
   effort was made to fingerprint any of the evidence.

       DNA: Please provide all information and documents relating to any attempt
   to conduct any DNA analysis. Specifically, identify any person(s) involved with
   any attempt to gather, transport, examine, or interpret DNA materials or
   information, the objects from which DNA evidence was sought or obtained, the
   methods used to attempt to gather, transport, examine, or interpret DNA
   materials or information, and the results of those efforts. Please notify me if no
   effort was made to gather, transport, examine, or interpret DNA materials or
   information in this case.

Please provide all information and documents relating to any other laboratory or field tests
of any evidence in this case. Specifically, please identify the person(s) involved; which objects
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the person(s) tested; the methods which the person(s) utilized to analyze the evidence; and
the results of those efforts.

   7. Mr. Mock’s Prior Record

Please provide any and all information regarding Mr. Mock’s prior criminal record. This
request includes, but is not limited to, all matters known or reasonably discoverable by the
government which may affect Mr. Mock’s criminal history score under the United States
Sentencing Guidelines or Mr. Mock’s sentencing exposure. This request also includes, but
is not limited to, a request for a “copy of [Mr. Mock’s] prior criminal record.” See Fed. R.
Crim. P. 16(a)(1)(D); United States v. Trejo-Zambrano, 582 F.2d 460, 465 (9th Cir. 1978)
(“prosecutor ordinarily discharges his duty under Rule 16(a)(1)(B) by supplying the accused
with a copy of his F.B.I. rap sheet”).

Please indicate whether the government has exercised the due diligence required by Federal
Rule of Criminal Procedure Rule 16, in addition to any reliance that the government may
have placed upon efforts made by the Pretrial Services Office.

   8. Other Offense Evidence

Please provide notice of the nature of any “other crimes, wrongs, or acts” evidence (“other
offense evidence”) that the government intends to offer at trial in its case-in-chief or in
rebuttal under Federal Rule of Evidence 404(b) or 609, together with any documents and/or
tangible objects that the government intends to introduce in evidence in connection with
such other offense evidence; any documents material to the defense’s preparation in
opposition to such other offense evidence; and any written or oral statement made by Mr.
Mock relating to such other offense evidence.

   9. Evidence of Uncharged Conduct

Please provide any evidence regarding other crimes or uncharged misconduct that the
government intends to introduce at trial or for the purposes of sentencing.

   10. Witnesses or Informants

Please identify any and all confidential informants, percipient witnesses, and/or individuals
who may have information relating to this case, including witnesses the government does
not intent to call at trial, and produce any written or oral statements of such witnesses or
individuals. See Roviaro, supra.

Specifically, please identify the individuals referred to as “an officer” in Count Two of the
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Indictment, and “Officer S.K.” in Count Three of the Indictment, including the contact
information and any medical information the government plans to use to support the
allegations in the Indictment.

Please also provide a list of names of all law enforcement officers, as well as individuals who
assisted those officers, involved in this case in any way, however minimal, and their respective
badge numbers and CAD numbers, as this information is material to preparing Mr. Mock’s
defense.

Lastly, please provide a list of names and contact information for each and every person the
government may call as a witness in the presentation of its case-in-chief or during rebuttal.

   11. Grand Jury Testimony

Please provide any grand jury testimony of any government witness who may testify at a
pretrial hearing or at trial. See Fed. R. Crim. P. 26.2; Allen v. United States, 390 F.2d 476
(1968); Dennis v. United States, 384 U.S. 855 (1966). Specifically, please provide all grand
jury testimony relating to the indictment in this case.

   12. Additional Brady Requests

Pursuant to Brady and its progeny, please provide all documents, statements (including but
not limited to investigator notes, lab notes, prosecution reports, and witness interview notes
that could be considered statements) agent reports, emails, text messages, photos, videos,
other recordings, tangible evidence, forensic evidence (including but not limited to
computer forensic evidence, fingerprint evidence, serology evidence, DNA evidence,
handwriting evidence, and cell phone tower record evidence), and all other materials that
are arguably favorable to Mr. Mock on the issue of guilt and/or punishment, including that
which arguably weighs in favor of a lower sentence under 18 U.S.C. § 3553(a), or which
negatively affects the credibility of the government’s case. See, e.g., Strickler v. Greene, 527
U.S. 263, 280 (1999) (duty to disclose encompasses impeachment evidence as well as
exculpatory evidence) (citing United States v. Bagley, 473 U.S. 667, 676 (1985)); United States
v. Bowie, 198 F.3d 905, 907 (D.C. Cir. 1999) (“Evidence affecting the credibility of
government witnesses is a category of exculpatory information potentially within Brady’s
disclosure obligation.” (Citing Giglio, 405 U.S. at 154.)); In re Sealed Case (Brady
Obligations), 185 F.3d 887 (D.C. Cir. 1999). Moreover, the government is obligated to
investigate whether anyone acting on behalf of the government, including the police, either
possess or know of such evidence. See Kyles v. Whitley, 514 U.S. 419 (1994).

Should you have any question with regard to whether certain information constitutes Brady
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material, please seek an in camera determination as to whether it should be produced, and
notify us that an in camera presentation will be made.

 Pursuant to Giglio and its progeny please produce any information the government knows
 or of may reasonably discovery which might bear unfavorably upon the credibility of any
 witness the government may call to testify at trial. This Giglio request is a specific Brady
 demand, but should not be construed as a limitation on the scope of what constitutes
 Brady material. This request includes but is not limited to:

        (a)    all information about any lawsuit (including any lawsuit with a liability
               finding), judicial or adverse credibility finding, finding of misconduct, or
               sustained complaint or investigation (including PD-750s, letters of
               prejudice, and official reprimands), and any finding of any violation of any
               individual’s constitutional rights, against any officer involved in the
               investigation and prosecution of this case, including but not limited to
               USCP Officer S         K       Officer W       MPD Officer H     F     and the
               Officer referred to in Count Two of the Indictment. We request that you search
               the files of the D.C. Office of Police Complaints (“OPC”), Internal Affairs
               Bureau (“IAB”), Internal Affairs Division (“IAD”), and any other sources of
               personnel information, including but not limited to MPD’s Personnel
               Performance Management System (“PPMS”). Please also consult the D.C.
               Office of the Attorney General (“OAG”), request that it search its database
               for the requested information, and disclose any such information. We
               further request the source documents for any such information and a
               proffer of the steps you have taken to locate this information;

        (b)    all information about any complaints, letters of prejudice, lawsuits,
               intervention plans, or investigations of conduct pending at any point during
               this case (even if resolved without a finding of misconduct) or currently
               pending involving any officer involved in the investigation and prosecution
               of this case, including those listed above in 12(a). We request that you search
               OPC, IAB, and IAD files and any other sources of personnel information,
               including but not limited to MPD’s PPMS and Supervisory Support
               Program (“SSP”). Please also consult the OAG, request that it search its
               database for the requested information, and disclose any such information.
               We further request the source documents for any such information and a
               proffer of the steps you have taken to locate this information;

        (c)    any and all government communications ever sent, received, or forwarded
               by any officer involved in this case that contains language that is
               inappropriate, offensive, discriminatory, or suggestive of bias or profiling.
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             This request not only includes any communication in connection with the
             instant case, but also any other communications by the relevant officers
             which were sent or received at any other time which contain information
             which may be offensive, inappropriate, discriminatory, or indicative of bias
             or profiling. Communications of this nature are clearly material to the
             defense in this case as evidence of potential bias against Mr. Mock. Such
             communications are also material to the defense because they relate to the
             credibility of any officers who may be testifying on behalf of the
             government. See U.S. CONST. amend. VI; Fed. R. Crim. P. 16; Davis v.
             Alaska, 415 U.S. 308 (1974) (and its progeny); Brady, 373 U.S. 83 (and its
             progeny);

       (d)   all information about any misconduct by, complaints of misconduct against,
             and/or disciplinary action taken against any prospective government witness
             or informant;

       (e)   any and all information that any officer involved in this matter is a subject
             or target of an internal law enforcement investigation, or a subject or target
             of any government investigation;

       (f)   all information arguably showing or tending to show that any prospective
             government witness or informant has manufactured, falsified, or planted
             evidence, whether in physical or testimonial form, in connection with any
             criminal arrest or charge;

       (g)   all information about any prospective government witness or informant
             failing to follow government regulations in connection with the
             investigation, arrest, and post-arrest treatment of any suspect;

       (h)   any evidence or information arguably supporting the proposition that any
             prospective government witness or informant is biased or prejudiced against
             Mr. Mock, has a motive to falsify or distort his or her testimony, or has a
             motive to lie against Mr. Mock, see Pennsylvania v. Ritchie, 480 U.S. 39
             (1987);

       (i)   any prospective government witness’s or informant’s prior adult and
             juvenile criminal record, including arrests and any cases that were dismissed
             or are pending;

       (j)   any evidence, including evidence not related to any criminal prosecution,
             that any prospective government witness or informant has engaged in any
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             criminal act, prior bad act, or engaged in any conduct suggesting that the
             witness or informant is untruthful, see Fed. R. Evid. 608(b);

       (k)   all information about any prospective government witness or informant
             making a false statement, whether or not under oath, and whether or not
             an adjudication or finding of a false statement has been made;

       (l)   all information about any direct or implied promises of benefit or leniency
             in whatever form made to any prospective government witness or informant
             with respect to this or any other case;

       (m)   all information concerning any psychiatric, psychological, or emotional
             problems any prospective government witness or informant may have,
             regardless or whether the witness or informant ever received any mental
             health treatment, and/or any information about his or her mental health
             treatment;

       (n)   all information (including but not limited to drug test results) concerning
             whether any prospective government witness or informant has ever
             distributed, possessed, or used any illegal drug, including but not limited to
             all information related to: the length and extent of the witness’s or
             informant’s addiction to or use of narcotic drugs or participation in a drug
             treatment program of any kind; whether any prospective government
             witness or informant has ever misused or mishandled any legal drug;
             whether any prospective government witness or informant was under the
             influence of alcohol, narcotics, or any other substance at the time of the
             observation about which the witness will testify or about which any
             informant has provided information;

       (o)   all information regarding any impairment suffered by any prospective
             government witness either at the time of the events about which the witness
             will testify or at the time the witness testifies, including but not limited to,
             any visual, hearing, physical, or mental impairment the witness may have
             had or currently has;

       (p)   all information regarding evidence that any person may have influenced Mr.
             Mock to participate in the alleged offense charged in the pending
             indictment;

       (q)   all information regarding whether any government agent, informant, or
             anyone else acting at the government’s direction has communicated with
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               Mr. Mock since the commencement of adversarial proceedings against him
               and, if such contact has been made, the names of such individuals and the
               details surrounding the circumstances of such communications as well as all
               statements made by both Mr. Mock and the government agent, see generally
               Brady, 373 U.S. at 87; Maine v. Moulton, 474 U.S. 159, 176-77 (1985); United
               States v. Henry, 447 U.S. 264, 274-75 (1980);

        (r)    the name and contact information of any person(s) known to the
               government to whom any prospective government witness or informant has
               made statements relating to the indictment, which statements were arguably
               inconsistent with statements made by the witness or informant to law
               enforcement officers;

        (s)    all information concerning any civil, tax, court of claims, administrative,
               immigration, or other pending or potential legal disputes or transactions
               that any government agency or official has with, or may potentially have
               with, any prospective government witness or informant, including all
               information relating to the witness’s or informant’s falsification of tax
               information or knowing participation, whether before or after the fact, in
               fraudulent tax practices; and

        (t)    all information concerning any prospective government witness’s or
               informant’s immigration status.

In order to adequately prepare for any motions hearing and for trial, please produce this
information as soon as possible. Please notify me if special arrangements are necessary. We
also request that no material subject to discovery under Fed. R. Crim. P. 16 be forwarded
to the Court in this case except under seal unless the Court orders otherwise.

Pursuant to Fed. R. Crim. P. 16(c) and Local Criminal Rule 5.1, the above requests are of
a continuing nature. We would appreciate your assistance in ensuring that discoverable
material is made available as early as possible so as to avoid any unnecessary inconvenience
to the Court in dealing with last-minute motions or delays relating to trial and preparation
for trial.

Finally, we request that all government agents be directed to preserve all of their rough
notes and other documents or objects that may be material to this case.

Please let me know if you would like to discuss any of the above requests further via
teleconference. Thank you for your assistance and prompt attention to this matter.
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Sincerely,
s/ Keala C. Ede

Keala C. Ede
Assistant Federal Defender

KCE/hak

Cc:    Brian Christopher Mock (via U.S. mail)
